         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 1 of 35




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

JIN KWON, and ASIAN AMERICANS  )
ADVANCING JUSTICE-ATLANTA,     )
                               )
     Plaintiffs,               )
                               )                         CIVIL ACTION
v.                             )                         FILE NO.
                               )
ROBYN A. CRITTENDEN, SECRETARY )
OF STATE OF GEORGIA,           )
                               )
     Defendant.                )

     COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                   INTRODUCTION

    1. The right to vote is the cornerstone of democracy. However, as one district

       court judge recently stated: “Voting in a language you do not understand is

       like asking this Court to decide the winner of the Nobel Prize for Chemistry

       — ineffective, in other words.”1

    2. Section 21-2-409(b)(2) of the Georgia Code (“Subsection (b)(2)”) asks

       Limited English Proficient (“LEP”) voters to do just this—vote in a

       language they do not understand, without the assistance of an interpreter of

1
 Madera v. Detzner, 325 F.Supp.3d 1269, 1279 (N.D. Fla. 2018) (Chief Justice Walker order
granting motion for preliminary injunction in part).
                                             1
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 2 of 35




  their choice. This is not only a violation of these voters’ fundamental right to

  cast a meaningful vote, but also a violation of federal statutory and

  constitutional law.

3. Plaintiffs Jin Kwon and Asian Americans Advancing Justice-Atlanta

  (“Advancing Justice-Atlanta”) (collectively, “Plaintiffs”) assert claims under

  Section 208 of the federal Voting Rights Act of 1965, 52 U.S.C. § 10508

  (the “VRA”), Section 2 of the VRA, 52 U.S.C. § 10301, and the First and

  Fourteenth Amendments to the Constitution of the United States. They seek

  declaratory and injunctive relief against the continued enforcement of

  Subsection (b)(2), and all other appropriate relief at law and equity,

  including reasonable attorney’s fees and costs of litigation in accordance

  with federal law.

                        JURISDICTION AND VENUE

4. Plaintiffs’ claims present federal questions over which this Court has

  jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has

  jurisdiction to grant both declaratory and injunctive relief pursuant to 28

  U.S.C. §§ 2201 and 2202.




                                      2
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 3 of 35




5. Venue is proper in this district under 28 U.S.C. § 1391 because a substantial

   part of the events giving rise to Plaintiffs’ claims arose in this district. The

   Defendant Secretary of State is also located in this district.

                                  PARTIES

6. Plaintiff Jin Kwon is a 65-year-old Korean-American immigrant and

   resident of DeKalb County, Georgia, where he lives with his wife. Mr.

   Kwon is a registered voter in DeKalb County, and his precinct is Livsey

   Elementary School. Mr. Kwon is LEP and requested and received voting

   assistance from an Advancing Justice-Atlanta interpreter in the November 6,

   2018 election (the “November Election”). Subsection (b)(2) has harmed and

   will continue to harm Mr. Kwon by burdening his right to vote and his

   ability to receive language assistance from a person of his choice in

   elections.

7. Plaintiff Advancing Justice-Atlanta is a nonpartisan, nonprofit organization

   founded in 2010 and located in Norcross, Georgia. Advancing Justice-

   Atlanta is dedicated to protecting and promoting the civil rights of Asian

   Americans and Pacific Islanders (“AAPIs”) and other immigrant and refugee

   communities in Georgia through policy advocacy, legal services, impact

   litigation, and civic engagement. As part of its civic engagement work,

                                       3
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 4 of 35




   Advancing Justice-Atlanta conducts Get Out the Vote (“GOTV”), voter

   education, and election protection activities in local, state, and federal

   elections, with a particular focus on AAPI voters.

8. Defendant Robyn A. Crittenden is the current Secretary of State of Georgia,

   and is named solely in her official capacity. As Secretary of State, Defendant

   Crittenden is Georgia’s chief election official. Defendant Crittenden’s

   responsibilities include preparing and furnishing information for citizens

   pertaining to voter registration and voting. O.C.G.A. § 21-2-50(a).

   Defendant Crittenden also serves as the Chairperson of Georgia’s State

   Election Board, which promulgates and enforces rules and regulations to

   obtain uniformity in the practices and proceedings of election officials and is

   responsible for promoting the fair, legal, and orderly conduct of all primaries

   and elections in the state. Id. at §§ 21-2-30(d), 21-2-31, 21-2-33.1.

                           LEGAL ALLEGATIONS

9. Under Section 208 of the VRA, voters who require assistance with voting

   due to a disability or inability to read or write may receive assistance from

   any person of the voter’s choice, other than the voter’s employer, an agent of

   the voter’s employer, or an officer or agent of the voter’s union. 52 U.S.C. §

   10508.

                                       4
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 5 of 35




10. When it enacted Section 208 of the VRA, Congress explained that giving

   LEP voters and voters with disabilities the right to an assistor of “their own

   choice” is “the only way to assure meaningful voting assistance,” and that

   “[t]o do otherwise would deny these voters the same opportunity to vote

   enjoyed by all citizens.” S. Rep. No. 97-417 (1982).

11. For federal elections, the Georgia law regarding assistance to LEP voters

   and voters with disabilities mirrors Section 208. Specifically, in elections

   where there is a federal candidate on the ballot, O.C.G.A. § 21-2-409 (the

   “State Statute”) provides that voters who are “unable to read the English

   language” or have a disability impacting their physical ability to vote may

   select any person, other than their employer, an agent of their employer, or

   an officer or agent of their union, to assist them with voting. O.C.G.A. §§

   21-2-409(a) and (b)(1).

12.However, in elections with no federal candidate on the ballot, the State

   Statute is substantially more restrictive than Section 208 of the VRA and all

   but precludes assistance for voters with limited English proficiency or

   disabilities. In these elections, voters with disabilities or who are unable to

   read English are limited to receiving assistance from (1) a registered voter in




                                       5
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 6 of 35




       their precinct, (2) an immediate family member or other statutorily specified

       family member, or (3) the voter’s caretaker, if any. Subsection (b)(2).

    13. Subsection (b)(2) also limits the number of voters that any one person can

       assist in a state or local election to ten, while there is no such limit under

       Section 208 of the VRA.

                              FACTUAL ALLEGATIONS

Disproportionate Burden On Georgia’s Limited English Proficient Population

    14. For AAPIs and Latino Americans, who historically have the lowest voter

       turnout among all races,2 language barriers persist as an obstacle for them to

       meaningfully participate in the civic process.3

    15.For hundreds of thousands of AAPIs and Latino Americans in Georgia,

       English is a second, third, or even fourth language. Thus, while only 5.6% of

       the general population in Georgia is limited English proficient,4 significantly

       higher percentages of the Latino-American and AAPIs communities are
2
  Black Voter Turnout Rate Declined Sharply in 2016, Dropping Below That of Whites, PEW
RESEARCH CENTER, available at http://www.pewresearch.org/fact-tank/2017/05/12/black-voter-
turnout-fell-in-2016-even-as-a-record-number-of-americans-cast-ballots/ft_17-05-10_voter-
turnout/ (last visited Nov. 27, 2018).
3
  Asian-American Groups Tackle Language Barriers to Get Out Vote, NBC NEWS, available at
https://www.nbcnews.com/news/asian-america/asian-american-groups-tackle-language-barriers-
get-out-vote-n239901 (last visited Nov. 27, 2018); 2016 May Not Be the Year of the Latino Vote,
But Time Is On Its Side, NBC NEWS, available at https://www.nbcnews.com/news/latino/2016-
may-not-be-year-latino-vote-time-its-side-n636091 (last visited Nov. 27, 2018).
4
  See U.S. Dep’t of Justice, Federal Coordination and Compliance Section, 2014 Language Map
App, available at https://www.lep.gov/maps/lma2014/Final_508/ (last visited Nov. 23, 2018).
                                               6
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 7 of 35




       LEP. Eighty-one percent of Asian Americans in Georgia speak a language

       other than English at home,5 and 44% speak English less than “very well.”6

       Similarly, 79% of the Hispanic and Latino populations in Georgia speak a

       language other than English at home;7 38% speaks English less than “very

       well.”8 By contrast, less than 1% of non-Hispanic or Latino White residents

       speak English less than “very well.”9

    16. The LEP rates are even higher among certain AAPI ethnic communities in

       Georgia. Forty-seven percent of Korean Americans, for example, speak

       English less than “very well.”10 The same is true for more than half of the

       Chinese-American community.11 And the rate of limited English proficiency

5
  See Asian and Pacific Islander American Vote, 2018 Fact Sheet, available at
http://www.apiavote.org/sites/apiavote/files/GA-2018.pdf (last visited Nov. 23, 2018).
6
  Id.
7
  See U.S. Census Bureau, Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over (Hispanic or Latino), AM. FACTFINDER, available at
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_17_1YR
_B16006&prodType=table (last visited Nov. 23, 2018).
8
  U.S. Census Bureau, Nativity by Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over (Hispanic or Latino), AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B16005I&prodType=table (last visited Nov. 27, 2018).
9
  U.S. Census Bureau, Nativity by Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over (Hispanic or Latino), AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B16005H&prodType=table (last visited Nov. 27, 2018).
10
   U.S. Census Bureau, Language Spoken at Home by Ability to Speak English for the Population
5 Years and Over, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_17_1YR
_B16001&prodType=table (last visited Nov. 27, 2018).
11
   Id.
                                             7
          Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 8 of 35




        is higher still among Vietnamese Americans, 66% of whom characterize

        their ability to speak English as less than “very well.”12

     17. AAPIs and Latino Americans also comprise a disproportionately large

        segment of the LEP population in Georgia. There are approximately 522,940

        Georgians who identify as LEP.13 While AAPIs make up only 3.7% percent

        of Georgia’s total population,14 they are approximately 19% of the state’s

        LEP population. Latino Americans likewise represent 63% of the state’s

        LEP population while accounting for only 9% of the total population.15

     18. Congress has recognized that limited English proficiency can impede a

        citizen’s ability to fully engage in American civic life. To address the way

        “various practices and procedures” have “effectively excluded [citizens of

        language minorities] from participation in the electoral process,” 52 U.S.C. §


12
   Id.
13
   U.S. Census Bureau, Nativity by Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B16005&prodType=table (last visited Nov. 27, 2018).
14
   U.S. Census Bureau, Race, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B02001&prodType=table (last visited Nov. 27, 2018).
15
   U.S. Census Bureau, Nativity by Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B16005&prodType=table (last visited Nov. 27, 2018); U.S. Census Bureau, Hispanic or Latino
Origin by Race, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B03002&prodType=table (last visited Nov. 27, 2018).
                                              8
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 9 of 35




   10503(a), Congress passed the language assistance provisions of the VRA in

   1975, codified at Section 203 of the Act. Section 203 requires jurisdictions

   throughout the United States to provide ballots and other election materials

   in languages other than English when certain language minority groups

   reach a numeric threshold in order to ensure that LEP voters are able to

   exercise the electoral franchise. See id; James Thomas Tucker,

   Enfranchising Language Minority Citizens: The Bilingual Election

   Provisions of the Voting Rights Act, 10 N.Y.U. J. LEGIS. & PUB. POL’Y 195

   (2006).

19. Congress has recognized that limited English proficiency can impede a

   citizen’s ability to fully engage in American civic life. To address the way

   “various practices and procedures” have “effectively excluded [citizens of

   language minorities] from participation in the electoral process,” 52 U.S.C. §

   10503(a), Congress passed the language assistance provisions of the VRA in

   1975, codified at Section 203 of the Act. Section 203 requires jurisdictions

   throughout the United States to provide ballots and other election materials

   in languages other than English when certain language minority groups

   reach a numeric threshold in order to ensure that LEP voters are able to

   exercise the electoral franchise. See id; James Thomas Tucker,

                                      9
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 10 of 35




        Enfranchising Language Minority Citizens: The Bilingual Election

        Provisions of the Voting Rights Act, 10 N.Y.U. J. LEGIS. & PUB. POL’Y 195

        (2006).

     20. More recent data also supports Congress’s determination that difficulty with

        English is a barrier to civic engagement in immigrant communities. In a

        2012 post-election survey administered to 6,609 AAPI voters across the

        U.S., 8% of respondents cited limited English proficiency as a reason for not

        voting. This survey also showed lower voter turnout among AAPIs who are

        LEP than those who are not.16 Conversely, a study published in 2016

        suggests a causal relationship between language support services provided

        under Section 203 and increased voter registration among Latino Americans

        and increased voter turnout among Asian-American voters.17

     21. Yet, Section 203 does not cover any jurisdictions in Georgia except

        Gwinnett County, which was designated in December 2016 as a covered




16
   Behind the Numbers: Post Election Survey of Asian American and Pacific Islander Voters in
2012, NAT’L ASIAN AM. SURVEY, available at http://naasurvey.com/wp-
content/uploads/2015/10/2012-aapipes-national.pdf (last visited Nov. 27, 2018).
17
   Bernard L. Fraga & Julie Lee Merseth, Examining the Casual Impact of the Voting Rights Act
Language Minority Provisions, 1 THE J. OF RACE, ETHNICITY, AND POLITICS 31-59 (2016),
available at https://www.cambridge.org/core/journals/journal-of-race-ethnicity-and-
politics/article/examining-the-causal-impact-of-the-voting-rights-act-language-minority-
provisions/5710388D382A230F83AAA762010E90F8.
                                             10
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 11 of 35




        jurisdiction for the Spanish language,18 after refusing an earlier request from

        two Latino-American rights groups to voluntarily provide Spanish ballots to

        its residents.19

     22. As a covered jurisdiction under Section 203, Gwinnett County is now

        required to administer its elections in both English and Spanish. But, despite

        the diverse makeup of its residents—including the 11% who are AAPI20—

        Gwinnett County offers no translation or interpretation services to voters in

        any language besides Spanish. And no other county in the entire state of

        Georgia provides any language assistance to LEP voters at all. As a result,

        despite the half of a million Georgians who are LEP, nearly all elections

        throughout the state are administered exclusively in English.

            Social and Historical Conditions of Discrimination in Georgia

     23. The restrictions on a voter’s options for language assistance under

        Subsection (b)(2) work in concert with social and historical conditions of

        discrimination in Georgia to deny Asian-American and Latino-American


18
   81 Fed. Reg. 233, available at https://www.gpo.gov/fdsys/pkg/FR-2016-12-05/pdf/2016-
28969.pdf.
19
   David Wickert, Gwinnett Rejects Call for Spanish Ballots, ATLANTA J. & CONST.,
https://www.ajc.com/news/local-govt--politics/gwinnett-rejects-call-for-spanish-
ballots/5WqvUFwDnbbxWa9Mcxl1fK/ (last visited Nov. 27, 2018).
20
   U.S. Census Bureau, Detailed Race, AM. FACTFINDER,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_C02003&prodType=table (last visited Nov. 27, 2018).
                                            11
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 12 of 35




        voters an equal opportunity to meaningfully vote and participate in the

        political process.

     24. Georgia’s long and well-documented history of systematic racism is baked

        into the voting laws of the state. As one district court aptly put it: “Georgia

        has a history chocked full of racial discrimination at all levels. This

        discrimination was ratified into state constitutions, enacted into state

        statutes, and promulgated in state policy. Racism and race discrimination

        were apparent and conspicuous realities, the norm rather than the

        exception.” Brooks v. State Bd. of Elections, 848 F. Supp. 1548, 1560 (S.D.

        Ga. 1994).

     25. Because of its history of state-sponsored discrimination, Georgia was for

        years subject to Section 5 of the VRA, requiring it to receive preclearance

        from the U.S. Department of Justice (“DOJ”) or a three-judge district court

        panel for every voting change it sought to implement.21

     26. But Georgia’s past history of discrimination in voting is not even past.

        Georgia is rife with recent examples of voting-related discrimination too.

     27. For example, the Secretary of State is currently implementing a voter

        registration protocol that places would-be voters in “pending” status if their

21
   See About Section 5 of the Voting Rights Act, U.S. DEP’T OF JUSTICE, available at
https://www.justice.gov/crt/about-section-5-voting-rights-act (last visited Nov. 27, 2018).
                                                12
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 13 of 35




        voter registration data does not exactly match the same information as it

        appears in other state databases. This protocol froze approximately 53,000

        voter registrations—80% of which belonged to people of color—in advance

        of the November Election. The protocol is the subject of pending litigation,

        which alleges that the protocol disproportionately burdens Black, Latino-

        American, and Asian-American voters. See Dkt. No. 15, Ga. Coalition for

        the People’s Agenda v. Kemp, 1:18-cv-04727-ELR (N.D. Ga. Oct. 19, 2018).

     28. Prior iterations of this “exact match” protocol also bear indicia of race-

        based discrimination. The DOJ objected to the first version that was

        submitted for preclearance in 2008, describing it as “error-laden” and

        “possibly improper” and noting that it incorrectly flagged thousands of

        naturalized citizens as non-citizens.22

     29. The DOJ further noted that the “flawed” protocol “frequently subject[ed] a

        disproportionate number of African-American, Asian, and/or Hispanic

        voters to additional and … erroneous burdens on the right to register to

        vote.”23 Latino-American and Asian-American voters were, for example,



22
   Letter from Loretta King, Acting Assistant Attorney Gen., Dep’t of Justice, to Thurbert E.
Baker, Ga. Attorney Gen. (May 29, 2009), available at
https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/l_090529.pdf.
23
   Id. at 4.
                                               13
            Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 14 of 35




           more than twice as likely as White applicants to be flagged under the

           protocol.24

      30. The DOJ pre-cleared a second iteration of the “exact match” voter

           registration protocol in 2010, but that version also proved to

           disproportionately burden voters of color. Specifically, of the approximately

           35,000 voters that the protocol removed from the voter rolls between 2013

           and 2016, 76% identified as Black, Latino-American, or Asian-American.

           See Dkt. No. 1, Ga. State Conf. of the NAACP v. Kemp, No. 2:16-cv-00219,

           at ¶ 88 (N.D. Ga. Sept. 14, 2016). A federal lawsuit filed against the

           Secretary of State by several civil rights organizations in 2016 resulted in a

           settlement agreement that ended this protocol. Only a few months later, the

           Georgia General Assembly passed the current iteration of the “exact match”

           protocol.

      31. The Georgia General Assembly routinely attempts to pass bills that would

           aggressively restrict or altogether prohibit state and local governmental

           agencies from offering services or conducting business in any language

           other than English. In 2011, the Georgia Senate introduced House Bill 72

           (“HB 72”), which would have required the state driver’s license test to be


24
     Id.
                                              14
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 15 of 35




   administered only in English. HB 72 would have made it difficult for LEP

   voters to obtain a drivers’ license, creating additional burdens on the voting

   process by making it more difficult to provide an acceptable photo ID and to

   get to the polls.

32. In 2014, Senate Resolution 1031 (“SR 1031”) sought to amend the Georgia

   Constitution to make English the state’s official language and prohibit the

   use of any language other than English in any state or local government

   document, meeting, proceeding, or publication. SR 1031 also created a

   private right of action against any governmental agency or official alleged to

   be in violation of its provisions. SR 1031 did not pass the Senate.

33. Undeterred, the Senate re-introduced—and this time successfully passed—

   an identical bill, Senate Resolution 675 (“SR 675”), in 2016. After more

   than 200 ethnic business groups, churches, and other organizations

   condemned or lobbied against SR 675, however, the Georgia House did not

   pass SR 675.

34. In 2018, the Senate tried yet again to constitutionally enshrine English as

   the official language of Georgia and mandate that all state and local

   governmental agencies conduct business exclusively in English through

   Senate Resolution 587 (“SR 587”) and Senate Resolution 613 (“SR 613”).

                                      15
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 16 of 35




   Like their predecessors, SR 587 and SR 613 declared English to be “the

   common language of the State of Georgia and the United States” and

   asserted a “compelling state interest” in “promoting, preserving, and

   strengthening the use of English.”

35. All iterations of the “English only” bill that the Senate sought to pass would

   have prohibited the dissemination of ballots and other election-related

   documents in any language other than English in violation of federal law.

  Other Factors Relevant to the Totality of Circumstances in Georgia

36. All elections in Georgia have a majority vote requirement. O.C.G.A. § 21-

   2-501. This requirement makes electing candidates of their choice more

   difficult for Latino-American and Asian American voters because they

   comprise a minority of the electorate.

37. Voting patterns in Georgia are racially polarized. Courts have repeatedly

   found that racially polarized voting exists at the statewide, county, and local

   levels. See, e.g., Dkt. No. 25, Ga. State Conference of the NAACP v.

   Gwinnett County, 1:16-cv-02852-AT (N.D. Ga. Oct. 6, 2016); Georgia v.

   Ashcroft, 195 F.Supp.2d 25, 88 (D.D.C. 2002), rev’d on other grounds, 539

   U.S. 461 (2003); Ga. State Conference of the NAACP v. Fayette Cty. Bd. of




                                        16
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 17 of 35




        Comm’rs, 950 F.Supp.2d 1294, 1314-16 (N.D. Ga. 2013), vacated and

        remanded on other grounds, 775 F.3d 1336 (11th Cir. 2015).

     38. Latino Americans and AAPIs have not been elected to public office in

        Georgia at a rate that is commensurate with their share of the population. All

        of the current statewide elected officials are White, and AAPIs and Latino

        Americans are vastly underrepresented in both the Georgia General

        Assembly and the state’s Congressional delegation. Of the 236 elected

        officials that will comprise the 2019 Georgia General Assembly, only three

        are Asian-American; only two, Latino-American. And no Congressional

        members representing Georgia are either Asian-American or Latino-

        American.

     39. A Latino-American woman was in fact prohibited from running for a State

        House seat earlier this year. In May 2018, the Secretary of State disqualified

        Maria Palacios as a candidate for an uncontested primary race for Georgia

        State House District 29. State House District 29 encompasses Hall County,

        Georgia, which has a population that is 27% Hispanic or Latino.25



25
   See U.S. Census Bureau, Language Spoken at Home by Ability to Speak English for the
Population 5 Years and Over (Hispanic or Latino), AM. FACTFINDER, available at
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?pid=ACS_16_5YR
_B03003&prodType=table (last visited Nov. 27, 2018).
                                            17
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 18 of 35




40. The basis for Ms. Palacio’s disqualification was the Secretary of State’s

   interpretation of a state constitutional provisional requiring that candidates

   for the state House of Representatives be “citizens of the state for at least

   two years” “[a]t the time of their election.” Ga. Const. Art. I, § 1, ¶ 7.

   Although Ms. Palacio had been a resident of Georgia for nine years, she did

   not become a U.S. citizen until 2017. The Secretary of State concluded that

   Ms. Palacio could not be considered a “citizen of the state” under the

   Georgia Constitution until she became a naturalized citizen of the U.S. in

   2017.

41. Finally, despite the severe burdens that Subsection (b)(2) places on LEP

   voters in non-federal elections, it is entirely arbitrary and fails to serve the

   stated purpose of the State Statute—i.e., to “provide a secret and private

   ballot.” To the contrary, Subsection (b)(2) significantly restricts a voter’s

   choice of assistance and increases the risk that a voter will be forced to seek

   assistance from someone the voter does not know or trust, undermining the

   state’s interest.

     Advancing Justice-Atlanta and its Language Assistance Efforts

42. To help address the gaps in state-provided language assistance to LEP

   voters and ensure that LEP voters are able to fully engage in the civic

                                        18
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 19 of 35




   process, Advancing Justice-Atlanta conducts all of its civic engagement

   activities, such as voter registration, voter education and GOTV efforts, in

   multiple languages, including Spanish, Vietnamese, Korean, and Chinese.

   For example, Advancing Justice-Atlanta routinely recruits multilingual

   volunteers to canvas AAPI and other immigrant voters to provide

   nonpartisan information about upcoming elections. Additionally, Advancing

   Justice-Atlanta provides written elections materials, such as “Know Your

   Voting Rights” pamphlets and voter guides, in multiple languages and runs a

   multilingual voter hotline during elections.

43. In addition to its usual GOTV and election protection activities, Advancing

   Justice-Atlanta also ran a language assistance and interpretation program for

   LEP voters during the November Election. As a part of this program,

   Advancing Justice-Atlanta recruited and trained volunteers fluent in Spanish,

   Vietnamese, Korean, Chinese, or Hindi to be able to provide language

   assistance to LEP voters at the polls during early voting and on Election

   Day. Multilingual Advancing Justice-Atlanta staff members were also

   trained on how to serve as interpreters for LEP voters.

44. In the weeks leading up to the November Election, Advancing Justice-

   Atlanta advertised its services to AAPI and Latino-American communities,

                                      19
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 20 of 35




   providing a telephone number voters could call to request language

   assistance at the polls. This included advertising in ethnic newspapers and

   on Asian media. If an LEP voter called to request language assistance,

   Advancing Justice-Atlanta arranged for an interpreter to accompany the

   voter to his or her polling place. During early voting and on Election Day,

   Advancing Justice-Atlanta also stationed interpreters at various polling

   places in order to provide LEP voters with on the spot language assistance, if

   requested.

45. As part of their training, Advancing Justice-Atlanta educated interpreters

   about the language assistance provisions under both state and federal law. It

   specifically advised interpreters that the restrictions of Subsection (b)(2)

   would not apply in the November Election since every ballot would include

   a federal candidate. Advancing Justice-Atlanta provided this education to

   ensure that LEP voters would not be wrongly denied their choice of an

   interpreter at the polls.

46. Nonetheless, Subsection (b)(2) caused various LEP voters to face

   difficulties receiving language assistance at the polls on Election Day. Poll

   workers wrongly believed or were confused about whether the restrictions of

   Subsection (b)(2) applied. Their confusion delayed the voting process and,

                                       20
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 21 of 35




   in some instances, caused voters and interpreters to feel frustrated,

   intimidated, or both.

47. Despite these issues, Advancing Justice-Atlanta was able to collectively

   provide voting assistance to almost 70 LEP community members during the

   November Election. In most cases, the interpreter met the criteria for

   providing assistance to the voter under O.C.G.A. § 21-2-409(b)(1) and

   Section 208, but not Subsection (b)(2). Therefore, had the November

   Election not included a federal candidate on the ballot, Georgia law would

   have barred Advancing Justice-Atlanta interpreters from providing

   assistance to LEP voters in a vast majority of these instances.

48. Further, at least one Advancing Justice-Atlanta staff member who is fluent

   in Korean assisted approximately 20 LEP voters who contacted the

   Advancing Justice-Atlanta office before Election Day to request language

   assistance. Since the November Election included a federal candidate on the

   ballot, interpreters were not limited to helping 10 people. However, the

   upcoming runoff election on December 4 (“December Runoff”) will not

   have a federal candidate on the ballot. Based solely on this fact, Subsection

   (b)(2) forbids any single person from helping more than 10 LEP voters.




                                      21
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 22 of 35




49. Mr. Kwon is one of the LEP voters whom Advancing Justice-Atlanta

   assisted during the November Election. Mr. Kwon contacted the Advancing

   Justice-Atlanta office on November 5 to request language assistance at the

   polls after seeing an ad for their services on Korean TV. On November 6, an

   Advancing Justice-Atlanta staff member accompanied Mr. Kwon and his

   wife, who is also an LEP voter, to their polling place at Livsey Elementary

   School in DeKalb County.

50. At the polling place, the interpreter encountered significant difficulty trying

   to assist Mr. Kwon and his wife. The interpreter was asked to write her name

   on a form to indicate that she was assisting Mr. Kwon and to check a box to

   indicate that she was either a registered voter in the same precinct or a

   family member eligible under Subsection (b)(2). The interpreter tried to

   explain that Subsection (b)(2) did not apply to the November Election

   because there was a federal candidate on the ballot.

51. This dispute escalated from a poll worker to the poll manager to the poll

   manager’s supervisor before it was finally resolved. The interpreter also

   used Advancing Justice-Atlanta’s deputy director to help mediate the

   dispute. At one point during this protracted exchange, the poll manager

   instructed the Advancing Justice-Atlanta interpreter to ask Mr. Kwon in

                                       22
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 23 of 35




    Korean whether his English was proficient enough for him to vote without

    assistance. In the end, the poll worker allowed the interpreter to assist Mr.

    and Mrs. Kwon, but the confusion about the applicability of Subsection

    (b)(2) caused Mr. and Mrs. Kwon a fifteen to twenty minute delay in casting

    their votes.

Advancing Justice-Atlanta’s Preparation for the December Runoff and the
                       Need for Injunctive Relief

 52. On December 4, there will be a statewide runoff election for the Georgia

    Secretary of State and the District 3 Public Service Commissioner (the

    “December Runoff”) because no candidate in these races obtained more than

    50% of the votes in the November Election. Since no federal candidate will

    appear on the ballot during the December Runoff, Subsection (b)(2) will

    significantly restrict whom LEP voters may choose to assist them with

    voting and creates the risk of disenfranchising LEP voters altogether.

 53. Mr. Kwon’s situation is illustrative. Subsection (b)(2) prohibits Mr. Kwon

    from receiving any assistance in the December Runoff from the Advancing

    Justice-Atlanta staff member who helped him and his wife in the November

    Election. In fact, Advancing Justice-Atlanta has three staff members who are

    fluent in Korean and trained to provide language assistance to LEP voters at

    the polls, but none are eligible under Subsection (b)(2) to assist Mr. Kwon in
                                       23
         Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 24 of 35




        the December Runoff. To date, neither Mr. Kwon nor Advancing Justice-

        Atlanta has been able to identify an interpreter who is permitted under

        Georgia law to assist Mr. Kwon with voting in the December Runoff.

     54. Further, the chances of Mr. Kwon or Advancing Justice-Atlanta finding a

        person who meets the stringent criteria under Subsection (b)(2) are

        extremely slim. In Mr. Kwon’s precinct, there are only 88 AAPI registered

        voters. Of those 88 AAPIs voters, none are guaranteed to be a Korean

        speaker. Asian Americans trace their roots to more than 20 different

        countries, each with its own unique languages. Indeed, 1,338 voting

        precincts in Georgia have 10 or less AAPI registered voters.26

     55. Advancing Justice-Atlanta is currently engaging and will continue to

        engage in efforts to stem the negative impact that Subsection (b)(2) will

        have on LEP voters’ ability to participate in the December Runoff. These

        efforts include: educating immigrant communities on who is permitted to

        provide language assistance to voters in the December Runoff; creating

        fliers and other materials to provide to voters, volunteers, and community

        partners; working with paid translation services to get these materials


26
  Information collected from “Active Voters by Race and Gender (By
Congressional, State House & Senate, Judicial Districts and County Precinct)” link
at http://sos.ga.gov/index.php/Elections/voter_registration_statistics.
                                          24
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 25 of 35




   translated into four different languages; distributing the materials via social

   media, text message, and email; recruiting multilingual volunteers who meet

   the much stricter criteria of Subsection (b)(2); and updating training material

   and re-training staff members and volunteers on the language assistance

   provisions of the State Statute.

56. All of these efforts require Advancing Justice-Atlanta to divert already

   limited financial and organizational resources toward minimizing the

   harmful effects that Subsection (b)(2) will have on AAPI communities. This

   leaves Advancing Justice-Atlanta with fewer resources to devote to its

   regular GOTV and election protection activities.

57. While Advancing Justice-Atlanta will assist LEP voters in the December

   Runoff where possible, Subsection (b)(2) cripples its ability to realistically

   meet the interpretation needs of LEP voters. Consequently, Advancing

   Justice-Atlanta must also divert resources to providing language assistance

   by other means that may be less effective or more costly, such as translating

   ballots.

58. Subsection (b)(2)’s restrictions also effectively foreclose Advancing

   Justice-Atlanta’s ability to develop an effective interpreter program for the




                                      25
     Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 26 of 35




    Gwinnett County transit referendum in March 2019 and for all other future

    local and state races.

 59. Furthermore, Subsection (b)(2) has thwarted, and will continue to thwart,

    Advancing Justice-Atlanta’s mission of civically engaging historically

    marginalized communities by giving LEP voters the illusory choice between

    voting without any language assistance or foregoing the right to vote

    altogether.

                             CAUSES OF ACTION

                             COUNT ONE
Violation of the Supremacy Clause and Section 208 of the Voting Rights Act
                           (52 U.S.C. § 10508)

 60. Plaintiffs reinstate and incorporate herein by reference the allegations in the

    paragraphs above.

 61. The Supremacy Clause, Article VI, Section 2, of the United States

    Constitution provides:

    This Constitution, and the Laws of the United States which shall be
    made in Pursuance thereof; and all Treaties made, or which shall be
    made, under the Authority of the United States, shall be the supreme
    Law of the Land; and the Judges in every State shall be bound
    thereby, any Thing in the Constitution of Laws of any State to the
    Contrary notwithstanding.




                                        26
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 27 of 35




62. A state law that “stands as an obstacle to the accomplishment and execution

   of the full purposes and objectives of Congress” with regard to a federal law

   violates, and is preempted by, the federal law. Crosby v. Nat'l Foreign Trade

   Council, 530 U.S. 363, 373 (2000).

63. Subsection (b)(2) imposes a limitation on voter choice that impermissibly

   conflicts with Section 208.

64. Whereas Section 208 of the VRA provides LEP Georgia voters with the

   right to select any assistor of their choice, subject only to certain

   employment-related limitations, Subsection (b)(2) narrowly restricts that

   choice to: (1) specifically enumerated family members, (2) care providers,

   and (3) registered voters in the same precinct as the LEP voter. This directly

   conflicts with the plain language of Section 208 and Congress’s stated

   purpose of enacting it—to ensure that LEP voters have the right to an

   assistor of “their own choice,” which ensures “meaningful voting

   assistance.”

65. Therefore, Subsection (b)(2) violates, and is preempted by, Section 208.

                              COUNT TWO
           Violation of the First and Fourteenth Amendments,
                           and 42 U.S.C. § 1983



                                     27
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 28 of 35




66. Plaintiffs reinstate and incorporate herein by reference the allegations in the

   paragraphs above.

67. The First and Fourteenth Amendments of the United States Constitution

   protect the right to vote as a fundamental right. The First Amendment’s

   guarantees of freedom of speech and association protect the right to vote and

   to participate in the political process. The right to vote is a fundamental

   constitutional right also protected by both the due process and equal

   protection clauses of the Fourteenth Amendment. See, e.g., Bush v. Gore,

   531 U.S. 98, 104-05 (2000); Harper v. Va. State Bd. of Elections, 383 U.S.

   663, 670 (1966) (Virginia’s poll tax violates the Equal Protection Clause);

   Anderson v. Celebrezze, 460 U.S. 780, 786-87 (1983) (the right to vote is

   incorporated into the Due Process Clause).

68. By significantly restricting their ability to receive voting assistance from a

   person of their choice, Subsection (b)(2) imposes severe burdens on the

   fundamental right to vote for LEP and voters with disabilities in Georgia.

   Subsection (b)(2) further burdens the right to vote by limiting the number of

   LEP or voters with disabilities an individual interpreter may assist. These

   restrictions are not narrowly tailored to advance any state interest

   sufficiently compelling to justify the imposition of such severe burdens.

                                       28
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 29 of 35




69. While the burdens of this process are undeniably severe, the process cannot

   pass muster even under the less restrictive Anderson-Burdick balancing test

   for more ordinary voting regulations. Burdick v. Takushi, 504 U.S. 428, 434

   (1992) (holding that courts “must weigh ‘the character and magnitude of the

   asserted injury to the rights protected by the First and Fourteenth

   Amendments that the plaintiff seeks to vindicate’ against ‘the precise

   interests put forward by the State as justifications for the burden imposed by

   its rule,’ taking into consideration ‘the extent to which those interests make

   it necessary to burden the plaintiffs rights’” (quoting Anderson v.

   Celebrezze, 460 U.S. 780, 789 (1983)).

70. There is no sufficient state interest justifying the restrictions of Subsection

   (b)(2) that is not adequately protected by other election procedures.

   According to the legislative history, the original purpose of the State Statute

   when it was enacted in 1922, long before the VRA was passed, was to

   “provide a secret and private ballot,” presumably to protect voters from

   manipulation or coercion. Title VI Miscellaneous Civil and Penal Laws, Vol.

   1, p. 101 (Laws 1922, Sec. 4, p. 97) (1922). Not only is this an insufficient

   state interest to justify the harsh restrictions of Subsection (b)(2), the interest

   is not realized by creating more barriers to using an interpreter of the LEP

                                        29
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 30 of 35




   voter’s choice. In fact, disallowing LEP voters from choosing their

   interpreter makes them more vulnerable to manipulation, not less so.

71. By depriving Plaintiffs of these rights and privileges under the United States

   Constitution, Defendant Crittenden, acting under color of state law, has

   violated and is liable under 52 U.S.C. § 1983.

72. If enforcement of the statute is not enjoined, Subsection (b)(2) will continue

   to indefinitely impose severe burdens on the right to vote of Mr. Kwon and

   other similarly situated voters, requiring Advancing Justice-Atlanta to divert

   resources in an attempt to remedy the deprivation.

                              COUNT THREE

          Violation of Section 2 of the Voting Rights Act of 1965

73. Plaintiffs reinstate and incorporate herein by reference the allegations in the

   paragraphs above.

74. Section 2 of the VRA, 52 U.S.C. § 10301, protects Plaintiffs from denial or

   abridgment of the right to vote on account of race, color, or membership in a

   language minority group. Section 2 provides, in relevant part:

    (a) No voting qualification or prerequisite to voting or standard,
    practice, or procedure shall be imposed or applied by any State or
    political subdivision in a manner which results in a denial or
    abridgment of the right of any citizen of the United State to vote on
    account of race or color, or [membership in a language minority
    group].
                                       30
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 31 of 35




    (b) A violation of subsection (a) of this section is established if,
    based on the totality of circumstances, it is shown that the political
    processes leading to nomination or election in the State or political
    subdivision are not equally open to participation by members of a
    class of citizens protected by subsection (a) of this section in that its
    members have less opportunity than other members of the
    electorate to participate in the political process and to elect
    representatives of their choice.

75. Mr. Kwon, Asian Americans, and Hispanic and Latino Americans are

   members of a language minority group as defined under the VRA. See 52

   USCS § 10310 (a “language minority group” under the VRA means persons

   who are American Indian, Asian American, Alaskan Natives or of Spanish

   heritage).

76. Subsection (b)(2)’s restrictions on language assistance constitute a standard,

   practice, or procedure with respect to voting within the meaning of Section 2

   of the VRA and result in the denial or abridgement of the right to vote of

   Asian Americans and Hispanic and Latino Americans on account of their

   membership in a language minority in violation of Section 2.

77. These restrictions impose a substantial, disparate, and unwarranted burden

   on Hispanic and Latino-American and Asian-American voters, as compared

   with other Georgia citizens who are not members of a language minority,




                                       31
    Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 32 of 35




   and deny them equal opportunity to meaningfully vote in Georgia state and

   local elections.

78. Subsection (b)(2)’s restrictions on language assistance interact with

   historical, social, and other electoral conditions in Georgia to prevent

   Hispanic and Latino-American and Asian American applicants from having

   an equal opportunity to effectively vote. Thornburg v. Gingles, 478 U.S. 30,

   47 (1986).

79. In this case, the following circumstances are present: (1) a history of

   discrimination related to voting; (2) racially polarized voting patterns; (3)

   members of the impacted minority group are underrepresented among

   Georgia’s elected officials; (4) majority vote requirements; and (5) a

   completely arbitrary policy that does not appear to serve any legitimate

   purpose.

80. As a result of Subsection (b)(2), and under the totality of the circumstances,

   Hispanic and Latino-American and Asian-American voters have an unequal

   opportunity, as compared to other members of the electorate, to participate

   in the political process and elect representatives of their choice.

81. Plaintiffs will continue to suffer the violation of their rights as alleged in the

   Complaint absent relief granted by the Court.

                                        32
      Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 33 of 35




                            PRAYER FOR RELIEF

     WHEREFORE, Plaintiff Advancing Justice - Atlanta asks:

a.   That this Court enter judgment in favor of Plaintiffs and against Defendant

     on the claims for relief as alleged in this Complaint;

b.   That this Court issue a judgment declaring that O.C.G.A. § 21-2-409(b)(2)

     violates and is inconsistent with the provisions of Section 208 of the Voting

     Rights Act, 42 U.S.C. § 10508;

c.   That this Court issue a judgment declaring that O.C.G.A. § 21-2-409(b)(2)

     violates the fundamental right to vote under the First and Fourteenth

     Amendments to the extent that it burdens the right of voters to receive

     assistance from persons of their choice at the polls;

d.   That this Court grant preliminary and/or permanent injunctive relief by

     enjoining the enforcement of O.C.G.A. § 21-2-409(b)(2), and by ordering

     Defendant Crittenden, her employees, agents and successors, and all persons

     acting in concert with her, to undertake the following remedial actions:

     i.    Enjoin enforcement of any county or state policy or practice that is in

           place that, on the basis of O.C.G.A. § 21-2-409(b)(2), denies voters

           the right to vote with the assistance of a person of their choice that



                                        33
       Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 34 of 35




             satisfies the minimal requirements of Section 208 of the Voting Rights

             Act, 52 U.S.C. § 10508;

      ii.    Enjoin use of polling place forms that require voters and/or

             individuals assisting voters to indicate that they are complying with

             O.C.G.A. § 21-2-409(b)(2) before providing assistance;

      iii.   Instruct all poll workers that O.C.G.A. § 21-2-409(b)(2) has been

             enjoined and that they must apply O.C.G.A. § 21-2-409(b)(1)

             regardless of whether or not there is a federal ballot on the candidate;

e.    That this Court retain jurisdiction over the Defendant and his successors for

      such period of time as may be appropriate to ensure compliance with relief

      ordered by this Court;

f.    That Plaintiff be awarded attorneys’ fees and costs under 42U.S.C. § 1988;

      and

g.    That the Court award any additional or alternative relief as may be

      appropriate under the circumstances.




Respectfully submitted, this 27th day of November, 2018.

                                              /s/ Daniel Huynh
Deanna Kitamura                             Patrick J. Flinn, Esq.
dkitamura@advancingjustice-la.org           patrick.flinn@alston.com

                                         34
       Case 1:18-cv-05405-TCB Document 1 Filed 11/27/18 Page 35 of 35




CA Bar No. 162039                          Georgia Bar No. 264540
Nicole Gon Ochi                            Daniel Huynh, Esq.
nochi@advancingjustice-la.org              Daniel.huynh@alston.com
CA Bar. No. 268678
                                           Georgia Bar No. 987369
Christopher Lapinig
clapinig@advancingjustice-la.org           David Gann, Esq.
CA Bar No. 802525                          david.gann@alston.com
Eileen Ma                                  Georgia Bar No. 940455
ema@advancingjustice-la.org                Nick Tsui
CA Bar No. 296800                          nick.tsui@alston.com
(pro hac vice applications to be filed)    Georgia Bar No. 982502
ASIAN AMERICANS ADVANCING
                                           Lindsay Church
JUSTICE – LA
1145 Wilshire Blvd.                        Lindsay.church@alston.com
Los Angeles, CA 90017                      Georgia Bar No. 651190
Telephone: (213) 977-7500                  ALSTON & BIRD LLP
Facsimile: (213) 977-7595                  One Atlantic Center
                                           1201 West Peachtree Street
                                           Atlanta, Georgia 30309-3424
                                           Tel.: (404) 881-7000
                                           Fax: (404) 881-7777
Phi Nguyen                                 Brian J. Sutherland, Esq.
GA Bar No. 578019                          bsutherland@buckleybeal.com
pnguyen@advancingjustice-atlanta.org       Georgia Bar No. 105408
Hillary Li
                                           BUCKLEY BEAL, LLP
GA Bar No. 898375
hli@advancingjustice-atlanta.org           600 Peachtree Street
ASIAN AMERICANS ADVANCING                  Suite 3900
JUSTICE – ATLANTA                          Atlanta, Georgia 105408
5680 Oakbrook Parkway, Suite 148           Tel.: (404 781-1100
Norcross, GA 30093                         Fax.: (404) 781-1101
Telephone: (404) 585-8446

Counsel for Plaintiffs




                                          35
